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                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION


IN RE HIV ANTITRUST LITIGATION                               Case No. 3:19-cv-02573-EMC

                                                             PLAINTIFFS’ MOTION FOR LEAVE
                                                             TO BRING LECTERN AND TECH
                                                             TABLES INTO COURTROOM FOR
                                                             TRIAL
                                                             Date: May 24, 2023
This Document Relates to: ALL ACTIONS                        Time: 8:30 am
                                                             Ctrm: 5, 17th Floor
                                                             Judge: Honorable Edward M. Chen



       Plaintiffs seek leave from the Court to bring a movable lectern and two small tech tables into

the courthouse for the duration of the jury trial in this matter. The tech tables will be used by the trial

technicians. The lectern will be used in the event that the Court does not have a lectern available for

counsel, aside from the stationary version at counsel table. A proposed order is attached and

contemporaneously filed with this motion.




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                                         FILER’S ATTESTATION

        Pursuant to Local Rule 5-1(i)(3) of the Northern District of California, regarding signatures,

I, Abbye R. K. Obnibene, attest that concurrence in the filing of this document has been obtained.


Dated: May 19, 2023                   /s/ Abbye R. K. Ognibene
                                             Abbye R. K. Ognibene




                                   CERTIFICATE OF SERVICE

        I hereby certify that on May 19, 2023 the within document was filed with the Clerk of the

Court using CM/ECF which will send notification of such filing to the attorneys of record in this

case.


Dated: May 19, 2023                   /s/ Abbye R. K. Ognibene
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   MOTION FOR LEAVE TO BRING LECTERN AND TECH TABLES INTO COURTROOM / CASE NO. 3:19-CV-02573-EMC
